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                       UNITED STATES DISTRICT COURT
                        MIDDLE DISTRICT OF FLORIDA
                            ORLANDO DIVISION

JAMES L. RADERS,

                   Plaintiff,

v.                                            Case No.: 6:18-cv-711-PGB-EJK

MICHAEL D. FRANTZ, FRANTZ
COMMUNITY INVESTORS,
L.L.C, and FRANTZ VENTURES,
L.L.C,

                   Defendants.


      NOTICE AND ORDER TO REGISTER FOR COURT'S CASE
     MANAGEMENT AND ELECTRONIC CASE FILING PROGRAM

      On Monday, July 12, 2004, the United States District Court for the Middle

District of Florida converted to a paperless electronic filing system: CM/ECF (Case

Management and Electronic Case Filing). Extensive notice of this conversion was

provided through the Court's web-page, announcements, and numerous mailings.

      Upon review of this case, it appears that attorney Brian Langs is not

registered to participate in the Case Management and Electronic Case Filing

(“CM/ECF”) program of the Court.

      Henceforth, all attorneys appearing in a case assigned to the undersigned

Judge shall participate and docket in CM/ECF within 30 days of entry of an

appearance in such case.
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        Counsel are directed to the website located at www.flmd.uscourts.gov

under "CM/ECF" where a password may be requested from the Court. Counsel

must take the Tutorials offered on the website before using the CM/ECF system.

        Therefore, Brian Langs shall register to participate, as well as docket, in

CM/ECF within thirty (30) days from the date of this Order.

        DONE and ORDERED in Orlando, Florida on this 13th day of December,

2021.




Copies furnished to:

Counsel of Record
